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                                                                    FILED: February 8, 2017

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                              No. 17-116
                                        (6:96-cr-00154-NCT-1)
                                        ___________________

         In re: COREY ALLEN WILSON, a/k/a Jugs

                        Movant

                                        ___________________

                                             ORDER
                                        ___________________

                 Movant has filed a motion under 28 U.S.C. § 2244 for an order authorizing

        the district court to consider a second or successive application for relief under 28

        U.S.C. § 2255.

                 The court denies the motion.

                 Entered at the direction of Judge Traxler with the concurrence of Chief Judge

        Gregory and Senior Judge Hamilton.

                                                 For the Court

                                                 /s/ Patricia S. Connor, Clerk




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